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Safety, pharmacodynamics, and pharmacokinetics of
BAY 59-7939—an oral, direct Factor Xa inhibitor—after multiple
dosing in healthy male subjects
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Abstract Objectives: There is a clinical need for safe new        Introduction
oral anticoagulants. The safety, tolerability, pharmacody-
namics, and pharmacokinetics of BAY 59-7939—a novel,              BAY 59-7939 is a novel, oral anticoagulant undergoing
oral, direct Factor Xa (FXa) inhibitor—were investigated in       clinical evaluation for the prevention and treatment of
this single-center, placebo-controlled, single-blind, paral-      thromboembolic disorders [1]. Current clinical guidelines
lel-group, multiple-dose escalation study. Methods: Healthy       recommend the routine use of anticoagulant drugs, such as
male subjects (aged 20–45 years, body mass index 18.6–            the indirect Factor Xa (FXa) inhibitors—the low molecular
31.4 kg/m2) received oral BAY 59-7939 (n=8 per dose               weight heparins (LMWHs) and the synthetic pentasaccha-
regimen) or placebo (n=4 per dose regimen) on days 0 and 3–       ride fondaparinux—or the vitamin K antagonists (warfarin),
7. Dosing regimens were 5 mg once, twice (bid), or three          in a wide range of indications. These include high-risk
times daily, and 10 mg, 20 mg, or 30 mg bid. Results: There       surgery, trauma, atrial fibrillation, and acute coronary syn-
were no clinically relevant changes in bleeding time or other     dromes [2]. LMWHs and fondaparinux are well established
safety variables across all doses and regimens. There was no      for short- and medium-term prophylaxis and treatment, but
dose-related increase in the frequency or severity of adverse     they require subcutaneous administration [3]. Vitamin K
events with BAY 59-7939. Maximum inhibition of FXa                antagonists are currently the only anticoagulants indicated
activity occurred after approximately 3 h, and inhibition was     for long-term prevention of thromboembolic events in
maintained for at least 12 h for all doses. Prothrombin time,     high-risk patients and are administrated orally; however,
activated partial thromboplastin time, and HepTest were           these drugs require frequent patient monitoring because of
prolonged to a similar extent to inhibition of FXa activity for   their unpredictable pharmacokinetics, narrow therapeutic
all doses. Dose-proportional pharmacokinetics (AUC;norm          window, and multiple food and drug interactions [4].
and Cmax,norm) were observed at steady state (day 7).                Direct inhibition of clotting factors, such as thrombin or
Maximum plasma concentrations were achieved after 3–4             FXa, with small, specific molecules is becoming an increas-
h. The terminal half-life of BAY 59-7939 was 5.7–9.2 h at         ingly attractive antithrombotic strategy. These inhibitors,
steady state. There was no relevant accumulation at any dose.     such as the direct thrombin inhibitors ximelagatran and
Conclusions: BAY 59-7939 was safe and well tolerated              dabigatran, tend to have predictable pharmacodynamics
across the wide dose range studied, with predictable, dose-       and a low propensity for food and drug interactions and are,
proportional pharmacokinetics and pharmacodynamics and            theoretically, less likely to require monitoring than vitamin
no relevant accumulation beyond steady state. These results       K antagonists [5]. However, as yet, no new drug has been
support further investigation of BAY 59-7939 in phase II          able to replace the vitamin K antagonists, and there remains
clinical trials.                                                  a need for oral anticoagulants that are not only effective and
                                                                  safe for long-term use but also do not require routine
                                                                  monitoring [3].
                                                                     The results of in vitro studies have shown that
D. Kubitza (*) . G. Wensing . B. Voith . M. Zuehlsdorf            BAY 59-7939 is a direct FXa inhibitor and is more than
Institute of Clinical Pharmacology, Bayer HealthCare AG,          10,000-fold more selective for FXa than for other related
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e-mail: dagmar.kubitza@bayerhealthcare.com                        serine proteases [1]. In contrast to the indirect FXa inhib-
Tel.: +49-202-364505                                              itors (LMWHs and fondaparinux), BAY 59-7939 does not
Fax: +49-202-364115                                               require the cofactor antithrombin [6, 7]. Studies in animals
                                                                  have shown that BAY 59-7939 inhibits both free FXa and
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                                                                  FXa within the prothrombinase complex, has in vivo anti-
Bayer HealthCare AG,                                              thrombotic activity [1] and high bioavailability (60–80%),
42096 Wuppertal, Germany                                          and is rapidly excreted via both renal and fecal routes [8].
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   BAY 59-7939 has been shown to be safe and well toler-        Pharmacodynamic parameters
ated across a wide dose range (1.25–80 mg) in a single-dose
study of over 100 healthy male subjects, with predictable,      FXa activity and the global clotting tests—prothrombin
dose-dependent pharmacokinetics that correlated closely         time (PT), activated partial thromboplastin time (aPTT),
with pharmacodynamic parameters [7]. Bleeding is a well-        and HepTest—were assessed daily until day 12. PT and
acknowledged risk with anticoagulant drugs, and it is           aPTT examine the effects of drugs on coagulation
important to note that there was no increased risk of bleed-    stimulated by the extrinsic and intrinsic clotting pathways,
ing with BAY 59-7939, even across the 64-fold dose range        respectively. HepTest is used to monitor anticoagulation
studied. A phase IIb dose-ranging study of BAY 59-7939          with LMWHs, and it measures FXa activity indirectly. All
for the prevention of venous thromboembolism in patients        three tests are routinely performed to monitor patients
undergoing elective knee replacement surgery showed that        receiving anticoagulants; PT, in particular, is widely used in
BAY 59-7939 at doses of 2.5–10 mg twice daily had sim-          anticoagulation clinics to monitor the effects of vitamin K
ilar safety and efficacy to standard regimens of enoxaparin     antagonists.
[9]. Further large-scale studies are ongoing.
   The objective of this study was to further investigate the
safety, tolerability, pharmacodynamics, and pharmacoki-         Pharmacokinetic parameters
netics of BAY 59-7939 when administered as multiple
doses to healthy male subjects.                                 The following pharmacokinetic parameters were calculated
                                                                for BAY 59-7939 using model-independent (noncompart-
                                                                mental) methods: area under the plasma concentration-time
Methods                                                         curve (AUC); AUC during a dosage interval at steady state
                                                                (AUC ); AUC during a dosing interval divided by dose per
Study design                                                    kg body weight (AUC;norm ); maximum plasma concen-
                                                                tration (Cmax); Cmax divided by dose per kg body weight
This was a single-center, placebo-controlled, single-blind,     (Cmax,norm); half-life associated with the terminal slope
parallel-group, dose-escalation study. The protocol was         (t1/2); time to reach maximum drug concentration in plasma
approved by the Ethics Committee of the North Rhine             (tmax); and the accumulation ratio RA4 (AUC divided by
Medical Council, and the study was conducted in ac-             AUC).
cordance with the Declaration of Helsinki, Good Clinical
Practice guidelines, and German drug law [10, 11]. All
subjects gave written informed consent to participate in the    Sample analysis
study.
   Healthy Caucasian male subjects, 20–45 years of age          Blood samples were collected for pharmacodynamic and
(body mass index 18.6–31.4 kg/m2), were randomly as-            pharmacokinetic analysis before administration of the study
signed to receive either oral BAY 59-7939 (n=8 per dose         drug and at regular intervals thereafter. Plasma samples
regimen) or matching placebo (n=4 per dose regimen).            were obtained by centrifugation and were frozen and stored
Subjects remained on-site from day −1 to day 12 and were        below −15°C until analysis at the laboratories at Bayer
randomized to receive one of six BAY 59-7939 dosing             HealthCare AG (Germany).
regimens—5 mg once (od), twice (bid), or three times daily         After sample dilution, FXa activity was determined by a
(tid); 10 mg bid; 20 mg bid; or 30 mg bid—or matching           photometric assay. Briefly, FXa activity was determined by
placebo on days 0 and 3–7. In addition, a full medical          a two-step process: Total FX in plasma was activated to
examination was performed at follow-up, no more than 14         FXa using Russell’s viper venom in the presence of calcium
days after the last study dose.                                 ions; subsequently, the chromogenic substrate ZD-Arg-
   Each BAY 59-7939 dose step was initiated when the            Gly-Arg-pNA (S-2765, Chromogenix, Milan, Italy) was
results of the previous dose step were available and if there   hydrolyzed by FXa, releasing the chromogenic group pNA
were no unacceptable adverse effects. All study medication      (p-nitroanilin). The amount of pNA released is proportional
was taken with water at mealtimes, within 5 min of              to FXa activity and was determined by spectrophotometry
finishing a standard meal. The next meal was eaten 4 h later.   at 405 nm. All standards and controls were prepared from
                                                                the 3rd International Standard Coagulation Factors II and X
                                                                Concentrate, Human 98/590 (NIBSC, Potters Bar, UK).
Safety and tolerability                                         Concentrations above 0.1 IU/ml (the lower limit of
                                                                quantification; LLOQ) were determined with a precision
Occurrence and severity of adverse events, bleeding time,       of 9.5–14% and an accuracy of 99.5–114%; baseline values
laboratory values, blood pressure, heart rate, and electro-     of FXa activity prior to study drug administration were
cardiogram (ECG) were assessed daily until day 12 and at        set as 0% inhibition. PT [assessed using freeze-dried
follow-up.                                                      thromboplastin from rabbit brain with an international
                                                                sensitivity index (ISI) of 1.2 (Neoplastin Plus; Roche
                                                                Diagnostics, Mannheim, Germany)], aPTT [assessed using
                                                                a kaolin-activated test (Roche Diagnostics)], and HepTest
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Table 1 The incidence (n)          Disorder                Placebo        BAY 59-7939
of drug-related, treatment-emer-
gent adverse events (TEAEs)                                (n=21)         5 mg od 5 mg bid 5 mg tid 10 mg bid 20 mg bid 30 mg bid
after administration of                                                   (n=7)   (n=7)    (n=7)    (n=7)     (n=7)     (n=8)
BAY 59-7939 and placebo; in-
cludes events occurring in more    Any drug-related         6             3        0         4         0          3          4
than one subject (ALT alanine
aminotransferase, GLDH              TEAE
glutamate dehydrogenase)           Headache                 4             2        –         2         –          3          2
                                   Diarrhea                 2             –        –         1         –          –          1
                                   Fatigue                  2             –        –         2         –          –          –
                                   Dyspepsia                –             –        –         1         –          –          1
                                   Flatulence               1             1        –         –         –          –          –
                                   Increase in ALT          –             –        –         –         –          –          1
                                    and GLDH more than
                                    three times upper limit
                                    of normal
                                   Dizziness                –             –        –         –         –          –          1
                                   Altered taste            –             –        –         –         –          –          1
                                   Exanthema                1             –        –         –         –          –          –
                                   Feeling hot              –             –        –         –         –          –          1
                                   Hyperacidity             –             1        –         –         –          –          –
                                   Pressure in ear/tinnitus –             –        –         1         –          –          –




Fig. 1 FXa activity (median percentage inhibition compared with      b, activated partial thromboplastin time c, and HepTest d. Subjects
baseline) after administration of BAY 59-7939 5 mg, 10 mg, 20 mg,    received study drug on day 0 and days 3–7
or 30 mg twice daily. a Median prolongation of prothrombin time
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Fig. 2 FXa activity (median percentage inhibition compared with        activated partial thromboplastin time c, and HepTest d. Subjects
baseline) after administration of BAY 59-7939 5 mg once, twice, or     received study drug on day 0 and days 3–7
three times daily. a Median prolongation of prothrombin time b,


(Haemachem, St. Louis, MO, USA) were measured with a                   etry API 3000; MDS Sciex) after solid/liquid extraction.
ball coagulometer KC 10 (Amelung, Germany) using                       Concentrations above the LLOQ (0.5 μg/l) were deter-
standard methods according to the manufacturer’s instruc-              mined with a precision of 3.8–5.3% and an accuracy of
tions. Values for PT, aPTT, and HepTest prior to study drug            96.3–104.5%.
administration were defined as baseline (1.0); results are
presented as relative change from baseline following
treatment.                                                             Statistical methods
   Samples for pharmacokinetic analysis were analyzed by
a fully validated high-performance liquid chromatography               To investigate whether BAY 59-7939 exhibited dose-
(HPLC)/mass spectrometry (MS)/MS method (Hewlett–                      proportional pharmacokinetics, AUC;norm and Cmax,norm
Packard system 1100 coupled with tandem mass spectrom-                 were analyzed assuming the data were log-normally

Table 2 Pharmacokinetic parameters of BAY 59-7939 in plasma on day 7 (steady state; n=41). Values are given as geometric mean
(geometric coefficient of variation)
Parameter         5 mg od (n=7)     5 mg bid (n=7)      5 mg tid (n=6)      10 mg bid (n=7)     20 mg bid (n=7)     30 mg bid (n=7)

AUC (μg·h/l)      505.5 (19.7)      458.5 (13.1)       557.3 (20.4)         863.8 (18.6)        1,903.0 (24.5)     2,728.0 (14.6)
Cmax (μg/l)         76.4 (18.3)       85.3 (17.7)       123.8 (19.7)         158.0 (18.8)          318.1 (18.7)       451.9 (10.5)
t½ (h)               8.4 (32.6)        7.0 (27.8)         5.8 (35.5)           7.6 (26.7)            8.0 (40.7)         9.2 (64.1)
tmaxa (h)            3.00              3.00               2.00                 2.98                  2.50               3.02
RA4 (%)             98.8 (10.1)       85.3 (17.2)       113.6 (8.2)          105.8 (14.6)           95.4 (13.8)       110.3 (21.4)
a
Median
Accumulation ratio RA4 is AUC divided by AUC
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Table 3 Point estimates (least-     Reference     Test                                                 Steady state
squares means) and two-sided
confidence intervals (CI) for                                                                          AUC;norm (day 7) Ratio (90% CI)       Cmax,norm (day 7) Ratio (90% CI)
pairwise BAY 59-7939 treat-
ment comparisons (expressed as      5 mg (bid)    10 mg bid                                            1.09 (0.90, 1.33)                      1.11 (0.94, 1.32)
ratios) of the primary parameters                 20 mg bid                                            0.95 (0.78, 1.16)                      1.06 (0.89, 1.26)
AUC;norm and Cmax,norm at
steady state on day 7 (ANOVA;                     30 mg bid                                            1.02 (0.84, 1.24)                      1.15 (0.97, 1.37)
n=41)                               10 mg (bid)   20 mg bid                                            0.87 (0.72, 1.06)                      0.95 (0.80, 1.13)
                                                  30 mg bid                                            0.94 (0.77, 1.14)                      1.03 (0.87, 1.23)
                                    20 mg (bid)   30 mg bid                                            1.07 (0.88, 1.31)                      1.09 (0.91, 1.29)


distributed. No assumptions were made about the relation-                                                    were slightly higher in the other BAY 59-7939 dose groups
ship between dose and pharmacokinetic parameters, and an                                                     compared with placebo. Headache was the most frequent
exploratory analysis of variance (ANOVA; including the                                                       adverse event, affecting 9/43 (21%) BAY 59-7939 subjects
“factor groups”) was carried out using the log-transformed                                                   and 4/21 (19%) placebo recipients. One subject in the
values of AUC;norm and Cmax,norm.                                                                           5-mg-tid group discontinued treatment prematurely be-
                                                                                                             cause of an adverse event that was judged by study per-
                                                                                                             sonnel to be possibly drug related: pressure in the ear after
Results                                                                                                      the first administration of BAY 59-7939, leading to tinnitus
                                                                                                             lasting approximately 1 h.
Baseline demographics for all subjects were similar across all                                                  One subject receiving BAY 59-7939 30 mg bid had
treatment groups. Mean age was 32.5 years (range 20–45                                                       increased levels of alanine aminotransferase [ALT; maximum
years). Mean weight and height were 81.6 kg (range 59–                                                       3.3 times the upper limit of normal (ULN)] and glutamate
104 kg) and 180.3 cm (range 163–200 cm), respectively. Mean                                                  dehydrogenase (GLDH; maximum 5.4 times the ULN); these
body mass index was 25.1 kg/m2 (range 18.6–31.4 kg/m2).                                                      changes were attributed to BAY 59-7939. The levels of
                                                                                                             serum enzymes in this subject decreased by day 12 and
                                                                                                             subsequently returned to baseline. Similarly transient in-
                                                                                                             creases in ALT and GLDH were observed in subjects re-
Safety and tolerability
                                                                                                             ceiving placebo (ALT increases to 2.1 times the ULN in one
                                                                                                             subject, returning to baseline by day 8, and GLDH increases
Of the 68 subjects enrolled, four were excluded before
                                                                                                             to 2.8 times the ULN in five subjects, returning to baseline by
treatment (laboratory values outside the accepted range);
                                                                                                             day 12). A transient increase in GLDH to two times the ULN
therefore, safety evaluations were available for 64 subjects.
                                                                                                             was also observed in one subject receiving BAY 59-7939
There were no clinically relevant changes in bleeding time
                                                                                                             10 mg bid. BAY 59-7939 was not associated with clinically
in any subject receiving BAY 59-7939, independent of
                                                                                                             relevant changes in blood pressure, heart rate, or ECG.
dose and dosing frequency.
   There was no evidence of a relationship between dose or
dosing frequency and the incidence of adverse events (Table 1),
and there were no serious adverse events. There were no                                                      Pharmacodynamics
drug-related, treatment-emergent adverse events in the
BAY 59-7939 5-mg-bid and 10-mg-bid groups; the inci-                                                         Results from 64 subjects were valid for analysis of
dences of drug-related, treatment-emergent adverse events                                                    pharmacodynamic parameters.

Fig. 3 Plasma concentrations of                                                                              5 mg twice daily
                                                   BAY 59-7939 plasma concentration (μg/l)




                                                                                             400             10 mg twice daily
BAY 59-7939 after twice-daily                                                                                20 mg twice daily
dosing, displayed as geometric                                                                               30 mg twice daily
means
                                                                                             300




                                                                                             200




                                                                                             100




                                                                                              0
                                                                                                   0               1             2        7                 8               9

                                                                                                                                 Time (days)
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Twice-daily dosing (BAY 59-7939 5–30 mg bid)                  PT and aPTT after administration of BAY 59-7939 10 mg,
                                                              20 mg, and 30 mg bid on day 7 were still elevated after 12 h
BAY 59-7939 inhibited FXa activity in a dose-dependent        compared with baseline.
manner; FXa activity was unaffected in the placebo group
(Fig. 1a). Maximum inhibition of FXa activity occurred
approximately 3 h after BAY 59-7939 dosing. Following         BAY 59-7939 5 mg od, bid, and tid dosing
the first dose of BAY 59-7939, maximum inhibition of FXa
activity was 22% after 5 mg, 33% after 10 mg, 56% after       Maximum inhibition of FXa activity on day 0 was similar
20 mg, and 68% after 30 mg, and inhibition was maintained     after 5 mg given od, bid, and tid (Fig. 2a), and there were
for 8–12 h after 5 mg and for approximately 12 h after the    no relevant differences in maximum inhibition of FXa
10-mg, 20-mg, and 30-mg doses. There were no major            activity on day 7 compared with day 0 for the three
differences in maximum inhibition of FXa activity between     regimens. FXa activity was inhibited for up to 12 h after
the first and second daily doses, or on day 7 compared with   5-mg od dosing and beyond 24 h after bid and tid dosing in
day 0, although trough levels were increased with the 20-     some subjects. On day 7, PT and aPTT were prolonged
mg and 30-mg bid doses.                                       dose dependently (Fig. 2b,c). Prolongation of HepTest
   Median PT, aPTT, and HepTest were prolonged in a dose-     followed the same pattern as inhibition of FXa activity over
dependent manner (Fig. 1b–d). Maximum prolongations           the three dosing regimens (Fig. 2d). Minimum inhibition of
were reached 1–4 h after administration of BAY 59-7939.       FXa activity and clotting time prolongation was greater
On day 7, maximum PT values were similar to those             with bid and tid dosing compared with od dosing.
measured after the first dose on day 0. Trough values for



Fig. 4 a Correlation between
inhibition of FXa activity
and plasma concentration of
BAY 59-7939 (n=1,200).
b Correlation between PT and
plasma concentrations of
BAY 59-7939 (n=1,592)
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Pharmacokinetics                                                  enoxaparin, with no dose-response relationship observed
                                                                  in the BAY 59-7939 groups [9]. In this phase I study,
Results from 61 subjects were valid for pharmacokinetic           BAY 59-7939 had no clinically significant effects on vital
analysis (Table 2). Exposure to BAY 59-7939, in terms of          signs or ECG. Overall, these results confirm the findings
AUC and Cmax, was dose proportional for all doses (5 mg,          of an earlier study in healthy subjects, which showed that
10 mg, 20 mg, and 30 mg bid) after day 0 and day 7,               BAY 59-7939 is well tolerated and safe across a 64-fold
according to statistical analyses (Table 3). Maximum plas-        range of single doses [7].
ma concentrations of BAY 59-7939 were reached approxi-               The onset of inhibition of FXa activity with
mately 3–4 h after initial administration for all doses and all   BAY 59-7939 was rapid, with maximum effect occur-
regimens (Fig. 3). The t1/2 for BAY 59-7939, determined           ring within 2–3 h of dosing in all dosing groups. In ad-
after day 0, was 3.7–5.8 h. It was prolonged on day 7 to 5.8–     dition, the inhibition of FXa activity was dose dependent
9.2 h (Table 2), which could be due to the longer measure-        across all dosing regimens, and maximum inhibition of
ment period on day 7 (up to 96 h after dosing) compared           FXa activity did not differ significantly between initial
with day 0 (12 h after dosing). The accumulation ratio RA4,       drug administration and steady state. Furthermore, FXa
which relates AUC;ss to AUC after a single dose, was close       activity was still partially inhibited at the end of the dosing
to 100% for all dose regimens investigated (range 85–113%).       interval for all doses and dosing frequencies, except at
                                                                  5 mg od. The minimum level of inhibition of FXa activity
                                                                  was higher with increasing dose and dosing frequency. The
Pharmacokinetic and pharmacodynamic correlation                   clinical relevance of these effects at the end of the dosing
                                                                  interval will be determined in clinical trials. However,
Plasma concentrations of BAY 59-7939 were linked to inhib-        LMWHs have almost negligible anti-FXa activity after
ition of FXa activity, using an Emax model (Fig. 4a), and to      12 h, yet demonstrate anticoagulant effects with once-
PT by a direct linear relationship (Fig. 4b), with Pearson’s      daily dosing [13]. Similar efficacy to the LMWH
correlation coefficients of 0.950 and 0.958, respectively.        enoxaparin was observed with all of the BAY 59-7939
                                                                  doses tested (2.5–30 mg bid) in a recent clinical study
                                                                  of BAY 59-7939 for the prevention of venous thrombo-
Discussion                                                        embolism following major orthopedic surgery [9]. The
                                                                  current study showed that all of these clinically effective
The results of this study showed that multiple doses of           doses (5–60 mg total daily dose) had relevant pharmaco-
BAY 59-7939, an oral, direct FXa inhibitor, were well             dynamic effects.
tolerated across a wide range of doses, with predictable             With regard to global clotting tests, the maximum
pharmacodynamics and pharmacokinetics.                            prolongations of PT, aPTT, and HepTest were dose depen-
   BAY 59-7939 showed no clinically relevant effects on           dent with bid dosing and were reached within 1–4 h,
bleeding time after initial drug administration and, impor-       confirming the predictability and fast onset of the antico-
tantly, at steady state on day 7, irrespective of dose or         agulant effect of BAY 59-7939 previously observed in the
dosing frequency. Overall, adverse events were not depen-         single-dose study [7]. Peak prolongation of these clotting
dent on dose or dosing frequency, and no drug-related,            tests generally occurred at the same time as maximum
treatment-emergent adverse events were observed with the          inhibition of FXa activity, and peak prolongation of PT was
5-mg-bid or 10-mg-bid dose regimens. Although headache            similar at steady state to initial drug administration. As well
was the most frequently occurring drug-related, treatment-        as the routinely performed, well-established clotting tests
emergent adverse event, its incidence was similar with both       used in this study, BAY 59-7939 has also been shown to
BAY 59-7939 and placebo (21% vs. 19%, respectively).              prolong the specific thrombin generation assays platelet-
Transient increases in the liver enzymes ALT and/or GLDH          induced thrombin generation time (PITT) and prothrombi-
were observed in two subjects receiving BAY 59-7939               nase-induced clotting time (PiCT) [14]. Because of the
(10 mg bid and 30 mg bid), as well as six subjects receiving      position of FXa at the convergence point of the intrinsic and
placebo; all increased levels returned to baseline without        extrinsic clotting pathways, inhibition of FXa activity by
intervention. Rosenzweig et al. published a meta-analysis         BAY 59-7939 can be monitored using assays that measure
that showed that up to 7.5% of subjects receiving placebo in      clotting resulting from the activation of either of these two
phase I studies had increases in liver enzymes more than          pathways, by FXa itself, or by thrombin generation.
two times the ULN; this was attributed to maintained                 BAY 59-7939 did not show undue accumulation beyond
caloric intake and lack of physical activity [12]. In addition,   steady state. This was confirmed by the accumulation ratio
up to 25% of subjects receiving placebo had ALT more              RA4, which relates AUC at steady state to AUC after a
than three times the ULN in individual studies with               single dose, and was approximately 100% for all doses. At
a small sample size [12]. In a phase II clinical study of         steady state, AUC;norm and Cmax,norm showed that expo-
BAY 59-7939 (doses between 2.5 mg bid and 30 mg bid)              sure to BAY 59-7939 was dose proportional. The t1/2 was
for the prevention of venous thromboembolism after major          between 5.8 and 9.2 h, and the dosing regimen (od, bid, or
orthopedic surgery, mild transient increases in aspartate         tid) had little impact on Cmax values.
transaminase and ALT were observed in all treatment                  Pharmacodynamic and pharmacokinetic parameters
groups, including patients receiving the comparator drug          correlated closely. There was a direct, linear relationship
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between plasma BAY 59–7939 concentration and PT. This                3. Ansell J, Bergqvist D (2004) Current options in the prevention
suggests that PT, a routinely used coagulation test, could              of thromboembolic disease. Drugs 64(Suppl 1):1–5
                                                                     4. Hirsh J, Fuster V, Ansell J, Halperin JL (2003) American Heart
be used clinically to monitor the anticoagulant effect of               Association/American College of Cardiology Foundation guide
BAY 59-7939 if necessary. The ISI of the PT reagent used                to warfarin therapy. Circulation 107:1692–1711
in this study was 1.2. Reagents with different ISI values            5. Ansell J (2004) New anticoagulants and their potential impact
could potentially alter the slope of the correlation curve              on the treatment of thromboembolic disease. Curr Hematol Rep
                                                                        3:357–362
between plasma BAY 59-7939 concentrations and PT,                    6. Hoppensteadt D, Neville B, Maddenini J, Perzborn E,
and this should be assessed in future studies; however,                 Misselwitz F, Fareed J (2004) Comparative anticoagulant and
the linearity of the correlation would not be expected to               antiprotease actions of BAY 59-7939–an oral, direct Factor Xa
be affected. This suggests that PT would be a viable moni-              inhibitor–and enoxaparin and fondaparinux. Pathophysiol
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